

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. 74,903






EX PARTE SHAWN K. ODNEAL, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


FROM JEFFERSON COUNTY






	Per Curiam.



O P I N I O N ON COURT'S OWN MOTION FOR REHEARING




		We withdraw our previous opinion and mandate.  This is a post-conviction application
for a writ of habeas corpus filed pursuant to tex. code crim. proc. art. 11.07.  Applicant was
convicted of aggravated sexual assault of a child.  Punishment was assessed at life imprisonment.  This
conviction was affirmed, Odneal v. State, No. 09-00-00200-CR (Tex. App. Beaumont, delivered
January 24, 2001, no pet.). 

	Applicant contends that he was denied an opportunity to file a pro se petition for discretionary
review because his appellate attorney did not timely advise him regarding  his right to pursue
discretionary review. The record reflects that Applicant was not informed, in a timely manner, of his
right to pursue a pro se petition for discretionary review.

	In Ex parte Wilson, 956 S.W.2d 25 (Tex. Crim. App. 1997), we held that for counsel to
render effective assistance on appeal, he, or she, must notify the client the case has been affirmed and
that the client can pursue discretionary review on his own.

	Applicant is entitled to relief. The proper remedy in a case like this is to return Applicant to the
point at which he can file a petition for discretionary review. He may then follow the proper procedures
in order that a meaningful petition for discretionary review may be filed. For purposes of the Texas
Rules of Appellate Procedure, all time limits shall be calculated as if the Court of Appeals' decision had
been rendered on the day the mandate of this Court in this cause issues. We hold that should Applicant
desire to seek discretionary review, he must take affirmative steps to see that his petition is filed in the
Court of Appeals within thirty days after the mandate of this Court has issued.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice, Institutional
and Pardons and Paroles Divisions.

DELIVERED: April 28, 2004

DO NOT PUBLISH


